         Case 1:18-cv-00443-LY Document 59-2 Filed 02/06/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

JONATHAN LANGLEY,                                 )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )      Case No. 1:18-cv-00443-LY
                                                  )
INTERNATIONAL BUSINESS                            )
MACHINES CORPORATION,                             )
                                                  )
      Defendant.                                  )
_____________________________________             )

          [PROPOSED] ORDER GRANTING DEFENDANT INTERNATIONAL
               BUSINESS MACHINES CORPORATION’S MOTION TO
             COMPEL DEPOSITION TESTIMONY AND FOR SANCTIONS

       Before the Court is Defendant International Business Machines Corporation’s Motion to

Compel Deposition Testimony and for Sanctions. The Court has considered Defendant’s

Motion, Plaintiff’s Response and Defendant’s Reply and finds that the Motion should be

GRANTED.

       Accordingly, it is ORDERED that the parties shall reconvene for the continuation of

Plaintiff Jonathan Langley’s deposition at the earliest practical mutually agreed date, and at a

mutually agreed time and location. At this reconvened deposition, Plaintiff Langley shall fully

answer Defendant IBM’s deposition questions regarding the identities of individuals with whom

he has spoken since leaving the Company and the identities of individuals who provided him

with copies of documents that he seeks to rely upon in this matter, as well as all other questions

permitted by the Federal Rules of Civil Procedure. To complete the deposition, Defendant IBM

may have the time remaining under Rule 30(d)(1) plus an additional three hours.

       It is further ORDERED that Plaintiff Langley shall pay all reasonable fees, costs, and

expenses that Defendant will incur from the reconvened deposition, including attorneys’ fees,

                                                 1
         Case 1:18-cv-00443-LY Document 59-2 Filed 02/06/19 Page 2 of 2



travel expenses, and other costs. In addition, Plaintiff Langley shall pay all reasonable fees,

costs and expenses that Defendant IBM incurred in connection with the filing of the Motion to

Compel Deposition Testimony and for Sanctions and its Reply in support thereof. Defendant

IBM shall file an accounting of such costs and fees within thirty (30) days of the completion of

the reconvened deposition.


IT IS SO ORDERED.


Dated: _____________________




                                                      _________________________________
                                                      UNITED STATES DISTRICT JUDGE




                                                 2
